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                                      UNITED STATES OF AMERICA
                                    Federal Trade Commission
                                        WASHINGTON, D.C. 20580




 June 5, 2020
 Via Electronic Mail

 Melaleuca Inc.
 c/o Jay Cobb, Senior Counsel
 4609 West 65th South,
 Idaho Falls, Idaho 83402

                Warning Regarding Earnings Claims Related to Coronavirus
                Disease 2019 (COVID-19)

 Dear Mr. Cobb:

         FTC staff has reviewed social media posts made by Melaleuca Inc. (“Melaleuca”)
 business opportunity participants or representatives that unlawfully misrepresent that consumers
 who become Melaleuca business opportunity participants are likely to earn substantial income.
 This letter is to provide you with information about laws and regulations enforced by the Federal
 Trade Commission (“FTC”) that may bear upon your business activities, including the activities
 of your business opportunity participants and representatives.

        Some examples of earnings claims made by your business opportunity participants or
 representatives include:

            •   “[B]efore you say ‘ that’s not enough money’, please consider EVERY
                DIRECTOR at Melaleuca has been getting a paycheck through this entire
                pandemic/crisis!... If everybody is spending $100/month… @ 20% =
                $20/customer x 20 customers = $400/month income – FOREVER…. This income
                will NEVER go away!”
            •   “Need money? Have you considered shareholders of big retail stores are not
                missing a paycheck bc you are still shopping with them? Want to bank some of
                those profits for yourself? Let’s do it! Initial investment about $20!... Don’t think
                this is a good investment? This company has survived the recession of ‘08 and
                has now grown to a $2 Billion per year in sales! It is recession proof bc you need
                and use everything you buy! You need 8 friends that want to make money. You
                earn $500 next month - doesn’t sound like much BUT you will get another
                paycheck every month when those same friends/family shop again - residual
                income! Private message me to learn more. This is a huge opportunity for the
                common man to bank some of those shareholder profits!”

         Representations about a business opportunity, including earnings claims, violate Section
 5 of the FTC Act, 15 U.S.C. § 41 et seq., if they are false, misleading, or unsubstantiated and
 material to consumers. Express and implied earnings claims must be truthful and non-misleading



                                          EXHIBIT 3
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 to avoid being deceptive, which means that claims about the potential to achieve a wealthy
 lifestyle, career-level income, or significant income are false or misleading if business
 opportunity participants generally do not achieve such results. Even truthful testimonials from
 participants who do earn significant income or more will likely be misleading unless the
 advertising also makes clear the amount earned or lost by most participants. Your business
 opportunity participants and representatives must immediately cease making all express and
 implied earnings claims that would be false or misleading to current or prospective participants.

         You are responsible for the claims of your business opportunity participants and
 representatives. As the FTC stated in the January 2019 Business Guidance Concerning Multi-
 Level Marketing, the compensation structure of a Multi-Level Marketing entity (“MLM”) may
 create incentives for its participants to make certain representations to current or prospective
 participants. “As a consequence, an MLM should (i) direct its participants not to make false,
 misleading, or unsubstantiated representations and (ii) monitor its participants so they don’t
 make false, misleading, or unsubstantiated representations.”

        You are advised to review all claims relating to your business opportunity and
 immediately cease, and require your business opportunity participants and representatives to
 cease, making claims that are not supported by the evidence or substantiation described above.

        Within 48 hours, please send reply via email to COVID-19-Task-Force@ftc.gov
 describing the specific actions you have taken to address the FTC’s concerns. If you have any
 questions regarding compliance with the FTC Act, please contact us at COVID-19-Task-
 Force@ftc.gov.
                                                      Sincerely,


                                                      Federal Trade Commission Staff




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